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     ADAM L. BRAVERMAN
 1   United States Attorney
     Renee Green
 2   Special Assistant U.S. Attorney
     Illinois Bar No. 6270798
 3   Office of the U.S. Attorney
     880 Front Street, Room 6293
 4   San Diego, CA 92101-8893
     Telephone: (619) 546-6775
 5   Renee.Green@usdoj.gov
 6   Attorneys for the United States of America
 7
                   IN THE UNITED STATES DISTRICT COURT
 8               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA                ) Case No.: 17CR2475-CAB
10                                           )
                   Plaintiff,                )
11         vs.                               )
                                             ) JOINT MOTION FOR EXTENSION
12   RAYMOND LIDDY,                          ) OF TIME TO FILE RESPONSE
                                             )
13                Defendant.                 )
                                             )
14                                           )
                                             )
15                                           )
                                             )
16                                           )
17
18          Plaintiff, United States of America, by and through its counsel, Adam L.

19   Braverman, United States Attorney, and Renee Green, Special Assistant United

20   States Attorney, and Defendant, Raymond Liddy, by and through his counsel, Knut
21   S. Johnson, respectfully move this Court to extend the time for the United States to
22   file a response to Defendant’s pending Motion to Suppress Statements in the above
23   captioned matter, to November 30, 2018.
24         The basis for this request is that the United States needs additional time to
25   review the “enhanced” recordings lodged with the Court, research, and prepare a
26   response to Defendant’s motion, filed on November 2, 2018. The United States
27   requests adequate time to research the issues raised by Defendant and prepare a
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 1   response that is informative to the Court. The United States has discussed this matter
 2   with Defendant’s counsel, Knut Johnson, who does not object to the United States’
 3   request for an extension of time to file its response.
 4         For the aforementioned reasons, the parties request that the Court find the
 5   additional time required for the filing of the United States’ response excludable
 6   under the Speedy Trial Act, pursuant to 18 U.S.C § 3161(h)(1)(D). In addition, a
 7   failure to grant additional time would deny the attorney for the Government the

 8   reasonable time necessary for effective preparation, taking into account the exercise

 9
     of due diligence. Thus, the parties agree that the time is excludable under the Speedy
     Trial Act because the ends of justice served by granting additional time for the filing
10
     of the United States’ response outweigh the best interest of the public and Defendant
11
     in a speedy trial, pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).
12
13   DATED:       November 7, 2018                  Respectfully submitted,
14                                                  ADAM L. BRAVERMAN
15
                                                    United States Attorney

16                                                  s/Renee Green___
17
                                                    RENEE GREEN
                                                    Special Assistant U.S. Attorney
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 2
                           UNITED STATES DISTRICT COURT

 3                       SOUTHERN DISTRICT OF CALIFORNIA
 4
     UNITED STATES OF AMERICA,              )            Case No. 17CR02475-CAB
 5                                          )
 6         Plaintiff,                       )
                                            )
 7                v.                        )
 8                                          )            CERTIFICATE OF SERVICE
     RAYMOND LIDDY,                         )
 9
                                            )
10         Defendant.                       )
                                            )
11
12
     IT IS HEREBY CERTIFIED THAT:
13
           I, RENEE GREEN, am a citizen of the United States and am at least
14
     eighteen years of age. My business address is 880 Front Street, Room 6293, San
15
     Diego, California 92101-8893.
16
           I am not a party to the above-entitled action. I have caused service of the
17
     Joint Motion for Extension of Time to File Response by electronically filing the
18
     foregoing with the Clerk of the District Court using its ECF System, which
19
     electronically notifies them.
20
           I declare under penalty of perjury that the foregoing is true and correct.
21         Executed on November 7, 2018.
22
23                                          s/Renee Green
                                            RENEE GREEN
24
                                            Special Assistant U.S. Attorney
25
26
27
28


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